                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF IOWA
                                  EASTERN DIVISION

 
                                                        
THE READLYN TELEPHONE                                   
COMPANY,                                                     CIVIL ACTION NO. _____________

           Plaintiff,

vs.

QWEST COMMUNICATIONS                                                        COMPLAINT
CORPORATION,

             Defendant.
        
 
                                              COMPLAINT


           Plaintiff, The Readlyn Telephone Company (“Readlyn Telephone” or “Plaintiff”), hereby

files this Complaint against Defendant Qwest Communications Corporation (“Qwest” or

“Defendant”). In support of this Complaint, the Plaintiff states as follows:

                                      NATURE OF THE ACTION

      1.       This is a collection action involving Defendant’s failure to pay legally required

               charges for its use of Plaintiff’s local network facilities to connect long distance calls.

               Whenever one of Defendant’s customers makes a long–distance call to one of the

               Plaintiff’s local telephone customers, Defendant uses Plaintiff’s facilities to complete,

               or “terminate”, the long-distance call to the called party. Whenever one of

               Defendant’s customers, who is also a customer of Plaintiff’s local exchange services,

               makes a long distance call, Defendant uses Plaintiff’s facilities to start, or “originate”,

               the long-distance call to the called party.     Pursuant to Plaintiff’s federal and state




              Case 6:10-cv-02040-JEG Document 2 Filed 05/12/10 Page 1 of 7
         tariffs on file with the Federal Communications Commission (“FCC”) and the

         applicable state regulatory commission, Defendant is required to pay Plaintiff the

         filed rate for access to Plaintiff’s local exchange facilities. Defendant has failed to pay

         Plaintiff the filed rates in the tariffs.

                                               PARTIES

    2.   Plaintiff The Readlyn Telephone Company is a corporation organized under the laws

         of the state of Iowa with its principal place of business located at 121 Main Street,

         Readlyn, Iowa, and is engaged in the business of providing telecommunications

         services, including interstate and intrastate exchange access services. 

    3.   Defendant Qwest Communications Corporation is a Delaware corporation with its

         principal place of business at 1801 California Street, Denver, Colorado. Qwest and its

         affiliates provide an array of telecommunications services in Iowa and throughout the

         United States. At all relevant times, Qwest has been qualified and registered to do

         business in Iowa.

                                JURISDICTION AND VENUE

    4.   This court has subject matter jurisdiction herein pursuant to 28 U.S.C. §§ 1331 and

         1337 because this case arises out of federal law, the Communications Act of 1934, as

         amended, 47 U.S.C. § 151 et seq., and federal tariffs filed with the Federal

         Communications Commission, and pursuant to 28 U.S.C. § 1332 because the parties

         are citizens of different states and the amount in controversy exceeds $75,000.

    5.   This court has supplemental jurisdiction over the state law claims in this action

         pursuant to 28 U.S.C. §1367.




                                                     2 
 
         Case 6:10-cv-02040-JEG Document 2 Filed 05/12/10 Page 2 of 7
    6.    This court has personal jurisdiction over the Defendant because it is engaged in the

          systematic and continuous conduct of business in the state of Iowa. Defendant

          provides telecommunications and telecommunications related services in the state of

          Iowa.      Defendant’s conduct in connection with the state of Iowa required it

          reasonably to anticipate that it would be subject to the general jurisdiction of the

          courts in the state of Iowa.

    7.    Venue is proper in this judicial district pursuant to 28 U.S.C. §1391 in that the

          Defendant is found in and transacts business in this judicial district.

                            FACTS COMMON TO ALL CLAIMS

    8.    Plaintiff is engaged in the business of providing telecommunications services and

          telecommunications related services. These services include, but are not limited to,

          interstate and intrastate exchange access.

    9.    At all times relevant to this action, Defendant has engaged in providing

          telecommunications services and telecommunications related services for which

          Defendant has utilized Plaintiff’s interstate and intrastate exchange access services.

    10.   From on or about April, 2008 to the present, Plaintiff has provided and continues to

          provide to Defendant various telecommunications services including, but not limited

          to, interstate and intrastate access services pursuant to applicable federal and state

          tariffs.

    11.   Plaintiff invoiced and continues to invoice Defendant monthly for such services

          purchased by Defendant.

    12.   Plaintiff’s charges for the services have been and continue to be in compliance with

          all applicable tariffs.



                                                3 
 
          Case 6:10-cv-02040-JEG Document 2 Filed 05/12/10 Page 3 of 7
    13.   Despite receiving notice of its delinquency, Defendant failed to pay the amounts

          owing. These amounts owed to Plaintiff exceed one million dollars ($1,000,000). In

          addition, Defendant owes Plaintiff late payment fees calculated pursuant to applicable

          tariff provisions.

    14.   Defendant is responsible for any fees or expenses, including attorneys’ fees, in

          Plaintiff’s collecting or attempting to collect any charges owed in accordance with the

          tariffs.

    15.   Plaintiff reserves the right to amend their claims to include any additional charges

          that may be owed by Defendant and such attorneys’ fees, costs, expenses and interest

          as may be allowed by law.

    16.   Defendant has billed for and collected payments from its customers who made the

          interexchange calls at issue in this complaint.

    17.   Defendant’s rates, billed to and collected from its long distance customers with

          respect to the calls at issue at bar, do not take into account its failure to pay Plaintiff

          for the costs of using Plaintiff’s local exchange facilities. To the extent of the amount

          of the Plaintiff’s charges which Defendant has failed to pay for use of Plaintiff’s local

          exchange network, Defendant has increased its revenue to cost ratio per such long

          distance call. Defendant has completed millions of long distance calls using

          Plaintiff’s local exchange facilities without paying Plaintiffs anything for the use of

          those facilities.

                                           COUNT I

                                       Breach of Tariffs

    18.   The allegations set forth in paragraphs 1 through 17 above are incorporated herein by

          reference.

                                                4 
 
          Case 6:10-cv-02040-JEG Document 2 Filed 05/12/10 Page 4 of 7
    19.      Plaintiff filed various tariffs with the Federal Communications Commission and the

             Iowa Public Utilities Board.

    20.      The tariffs describe the rates and services offered by Plaintiff to its customers and

             contain rules and regulations pursuant to which such telecommunications services are

             rendered.

    21.      By using the exchange access services provided by Plaintiff, Defendant undertook

             and assumed an obligation to make all payments due to Plaintiff in accordance with

             the terms of the tariffs.

    22.      Defendant is in breach of the tariffs because Defendant has failed to pay for services

             provided it by Plaintiff in accordance with the tariffs.

    23.      As a direct and proximate result of Defendant’s breach of these tariffs, Plaintiff has

             suffered significant monetary damages exceeding one million dollars ($1,000,000). In

             addition, Defendant owes Plaintiff late payment fees calculated per the applicable

             tariffs.

          WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment in favor of

Plaintiff against Defendant for damages, plus an award of attorneys’ fees, costs, expenses and

prejudgment interest and post-judgment interest, and such additional and further relief as the

Court may deem just and proper.

                                              COUNT II

                               Alternative Claim for Quantum Meruit

    24.      The allegations set forth in paragraphs 1 through 23 are incorporated herein by

             reference.




                                                   5 
 
            Case 6:10-cv-02040-JEG Document 2 Filed 05/12/10 Page 5 of 7
    25.      In the alternative, it is averred that Plaintiff, at Defendant’s request, and with

             Defendant’s knowledge, acquiescence and acceptance, provided to Defendant

             exchange access services.

    26.      In the course of providing such services, Plaintiff necessarily incurred various costs,

             and charges for labor, for use of its equipment and facilities and for other expenses.

    27.      Defendant has refused, despite demand, to pay the fair value for the services

             furnished, although payment is past due.

          WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment in favor of

Plaintiff against Defendant for damages, plus an award of attorneys’ fees, costs, expenses and

prejudgment interest and post-judgment interest, and such additional and further relief as the

Court may deem just and proper.

                                              COUNT III

                             Alternative Claim for Unjust Enrichment

    28.      The allegations set forth in paragraphs 1 through 27 above are incorporated herein by

             reference.

    29.      Defendant obtained from Plaintiff exchange access services. Defendant received the

             benefits of those services and failed to make proper payment or restitution to Plaintiff

             for the services and benefits received.

    30.      Defendant has been unjustly enriched at the expense of Plaintiff.

    31.      Defendant’s actions constitute an unjust retention of benefit owed to Plaintiff, which

             is contrary to the principles of equity and justice.

          WHEREFORE, Plaintiff respectfully request that this Court enter a judgment in favor of

Plaintiff against Defendant for damages, plus an award of attorneys’ fees,



                                                    6 
 
            Case 6:10-cv-02040-JEG Document 2 Filed 05/12/10 Page 6 of 7
costs, expenses and prejudgment interest and post-judgment interest, and such additional and

further relief as the Court may deem just and proper.



                                                     Respectfully submitted,
                                                     /s/Lawrence P. McLellan_
                                                     Lawrence P. McLellan
                                                     Sullivan & Ward, P.C.
                                                     6601 Westown Parkway, Suite 200
                                                     West Des Moines, IA. 50266
                                                     Telephone: 515-247-4715
                                                     Facsimile: 515-244-3599
                                                     Email: lmclellan@sullivan-ward.com

                                                     /s/ Jeffrey J. Binder___
                                                     (Motion for Admission Pro Hac Vice Pending)
                                                     Jeffrey J. Binder, Esq.
                                                     D.C. Bar #475821
                                                     The Watergate
                                                     Suite 1107 North
                                                     2510 Virginia Avenue, N.W.
                                                     Washington, D.C. 20037
                                                     Telephone: 202-965-0199
                                                     Email: j.j.binder@verizon.net 

                                                     Attorneys for:
                                                     The Readlyn Telephone Company, Inc.




                                                7 
 
          Case 6:10-cv-02040-JEG Document 2 Filed 05/12/10 Page 7 of 7
